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 Fill in this information to identify the case:
 Debtor 1    Sherika S Amory aka Sherika Evans
             Amory aka Sherika S Evans

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of TEXAS

 Case number 16-32096

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: PROF-2013-S3 LEGAL TITLE TRUST IV, BY                           Court claim no. (if known): 9
U.S. BANK NATIONAL ASSOCIATION, AS LEGAL TITLE
TRUSTEE
Last 4 digits of any number you use to                                            Date of payment change: 7/1/2017
identify the debtor’s account: 4637                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $848.10
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment:                            New escrow payment:


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:            4.180%                           New interest rate:         4.750%

         Current principal and interest payment: $483.68             New principal and interest payment: $501.45


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment




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Debtor 1 Sherika S Amory aka Sherika Evans Amory                       Case number (if known) 16-32096
aka Sherika S Evans
           Print Name        Middle Name      Last Name




 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor
      ■ I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

     /s/ Justin Plean              Date June 9, 2017
     Signature



  Print             Justin Plean                                                                         Title   Authorized Agent for Creditor
                    First Name                       Middle Name      Last Name


  Company           Robertson, Anschutz & Schneid, P.L.


  Address           6409 Congress Ave., Suite 100
                    Number       Street


                    Boca Raton FL 33487
                    City                                                   State       ZIP Code

  Contact Phone     561-241-6901                                                                         Email jplean@rasflaw.com




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                                            CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on June 9, 2017, I electronically filed the foregoing with the Clerk of Court by
using the CM/ECF system, and a true and correct copy has been served via CM/ECF or United States Mail to the
following parties:

MIN GYU KIM
KIMLY LAW FIRM PLLC
616 FM 1960 ROAD WEST
SUITE 105
HOUSTON, TX 77090

SHERIKA S AMORY
AKA SHERIKA EVANS AMORY
AKA SHERIKA S EVANS
13562 BLUE MARLIN LN
HOUSTON, TX 77083

DAVID G PEAKE
CHAPTER 13 TRUSTEE
9660 HILLCROFT
SUITE 430
HOUSTON, TX 77096-3856

US TRUSTEE
OFFICE OF THE US TRUSTEE
515 RUSK AVE
STE 3516
HOUSTON, TX 77002




                                                                           Robertson, Anschutz & Schneid, P.L.
                                                                           Authorized Agent for Secured Creditor
                                                                           6409 Congress Ave., Suite 100
                                                                           Boca Raton, FL 33487
                                                                           Telephone: 561-241-6901
                                                                           Facsimile: 561-997-6909

                                                                           By: /s/Justin Plean
                                                                           Justin Plean, Esquire
                                                                           Email: jplean@rasflaw.com




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